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6                         UNITED STATES BANKRUPTCY COURT
                      WESTERN DISTRICT OF WASHINGTON AT SEATTLE
7                                        )
     In re:
8
                                         ) CHAPTER 7
                                         )
9        KENT DOUGLAS POWELL and         ) BANKRUPTCY NO. 12-11140
         HEIDI POWELL,                   )
10                                       ) DEBTORS’ SUPPLEMENTAL
11
                                         ) RESPONSE
                Debtors.                 )
12                                       )

13
             COME NOW Debtors herein and provide this supplemental response to the Trustee’s
14

15
     Motion to Sell Domain Name and Related Contract Rights and Motion to Assume Executory

16   Contract for the Court’s consideration as follows:
17          Debtors’ contract with GoDaddy falls into the prohibition identified in 11 U.S.C
18
     §365(c)(1)(A). The Trustee’s attempts to assume and assign Debtors’ contract rights to another
19

20   individual without the Debtor’s consent violates 11 U.S.C §365 (c)(1)(A).
21

22          RESPECTFULLY SUBMITTED this 12th day of June, 2017.

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24
                                                  /s/ Tom Lester
25                                                Tom Lester, WSBA #15814
                                                  Attorney for Debtors
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                                                                                         Law Offices of
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      Case 12-11140-MLB         Doc 65     Filed 06/12/17    Ent. 06/12/17 14:50:55      Pg. 1 of 1
